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                                         U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York

                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     November 28, 2023

Via ECF
Honorable Dale E. Ho
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

    Re: Knight First Amendment Institute at Columbia Univ. v. U.S. Dep’t of State et al.,
        22 Civ. 3003 (DEH)

Dear Judge Ho:

        This Office represents defendants the U.S. Department of State (“State”), the U.S.
Department of Homeland Security (“DHS”), and the Office of the Director of National
Intelligence (“ODNI”; collectively with State and DHS, “Defendants” or the “Agencies”) in the
above-referenced case brought by plaintiff Knight First Amendment Institute at Columbia
University (“Plaintiff”) pursuant to the Freedom of Information Act, 5 U.S.C. § 552.

       I write respectfully to provide a status update pursuant to the Court’s order dated October
2, 2023. 1 See Dkt. No. 37. As stated in Defendants’ previous status updates, State has
completed its production of records that were subject to consultations. See Dkt. Nos. 34, 36.
However, DHS and ODNI continue to await certain responses to consultations with other
agencies and components, which they continue to follow up on regularly.

       The status for DHS and ODNI is as follows:

       (1) DHS: After the most recent interim production in September 2023, DHS had 9
           remaining pages pending consultation. On November 27, 2023, DHS made a
           production of 7 pages that were returned from consultation. DHS has continued to
           follow up on the remaining 2 pages pending consultation and intends to issue a
           response to Plaintiff within 14 days of receiving the relevant consultation responses.

       (2) ODNI: Seven responsive records that ODNI sent out for consultation to another
           agency have not yet been returned. ODNI continues to follow up on these records



1
 This matter was reassigned to Your Honor on October 15, 2023. Pursuant to the Court’s order
dated October 17, 2023, Dkt. No. 38, Defendants have continued to proceed pursuant to the
schedule previously set by Judge Failla, to whom the case was previously assigned.
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            regularly and intends to issue a response to Plaintiff within 14 days of receiving the
            relevant consultation responses.

         Pursuant to the Court’s order dated September 28, 2022, the Agencies will provide
 another status update in 60 days. If all outstanding consultation requests are completed and
 responses issued to Plaintiff before that date, Defendants respectfully propose to provide a status
 report to the Court within 14 days of the issuance of the final response.

        Thank you for your consideration of this matter.

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney for the
                                                      Southern District of New York

                                               By:     /s/ Samuel Dolinger
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 cc: Counsel of record (via ECF)


Pursuant to the Court's order dated September 28, 2022, the Agencies shall provide a status update in 60
days or within 14 days of the issuance of the final response.


SO ORDERED.


Dale E. Ho
United States District Judge
Dated: November 29, 2023
New York, New York
